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PRIVATE PLACEMENT MEMORANDUM



                                                                      •




      WORK SPACE Wl1H I TWIST
  PRIVATE EQUITY PLACING AND CONVERTIBLE LOAN NOTE OFFER
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BUSINESS CONCEPT AND STRATEGY

Bar Works Inc. has been formed to        Manhattan's largest private sector        traditional city bar alongside well-
exploit two specific factors, both       leaseholders and a significant driver     designed work spaces and meeting
of which the founders regard as          of tenant demand."                        rooms with all tech and telecoms
significant and complimentary                                                      services. Bar Works will offer 'full
assets - the recurring availability of   WeWork is one of many work space          service membership' for a fixed fee
former restaurant/bar businesses         providers across Manhattan, yet           with no hidden extras, and to include
in central city locations (often with    demand from would-be users of             discounted drinks and food.
substantial upper floor space}, and      flexible working areas continues to
the very real demand for affordable,     outstrip supply, particularly in the      Founders of Bar Works Inc. believe
flexible and vibrant work space In       Grand Central/Central Park districts      the combination of ease of access
Central Manhattan, San Francisco         of Midtown, an area that is rapidly       and true flexibility (allowing
Chicago, Boston, London and other        becoming an annex to Wall Street          members to work and hold formal
locations.                               as many financial firms are now           and informal meetings in one place)
                                         headquartered there (e.g., Bank of        will prove an attractive option
Demand from entrepreneurs,               China, PwC, Bloomberg).                   for the rising numbers of people
freelancers and travelling employees                                               needing to access affordable space
from all across America and              Booking temporary or flexible office/     in central locations, and will allow
elsewhere has seen central New           work space anywhere in Manhattan          the Company to form a unique brand
York City's temporary/flexible offices   is now extremely difficult - most         that can be replicated in other major
and work space become one of the         space being booked by not less than       cities- such as Chicago, Boston, San
leading sub-sectors in commercial        1-2 months in advance - and costly,       Francisco and London. In fact, the
real estate across NYC. And similar      incurring basic rents of not less         directors - who have a broad range
trends are apparent in other major       than US$600 per unit a month plus         of experience across customer-
cities in western economies.             services. Other boroughs of New           facing and start-up businesses and
                                         York are similarly under-supplied, as     been customers themselves of the
Colliers International - a leading       are key areas of other major cities in    serviced office sector - believe the
US real estate analyst - noted in        the US and elsewhere.                     Bar Works model can be replicated in
its recent report on commercial                                                    many regions of the world.
property trends in Manhattan for the     To take advantage of this growing
first half of 2015 that:                 trend toward 'hot work space', Bar        Full details of the Bar Works
                                         Works Inc. intends to adapt former        concept and structure, and the
"Leases from executive suites/           bar and restaurant premises (with         premises already acquired in
co-working companies ... were            the necessary catering and drinks         Midtown Manhattan, are given in
among the largest leases in all three    licenses) firstly in key Midtown,         this document, which also provides
submarkets during the quarter.           Downtown and other districts of           full financial details for potential
Indeed, WeWork alone now occupies        New York - thus retaining the 'walk-      members and projected financials for
1.92 million square feet as one of       in' attraction and accessibility of the   the Company.
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    INVESTORS-
    THE OFFER AND EXIT STRATEGY

                Bar Works Inc. now offers investors 20% of its equity to raise US$1.S million
                (£960,000) via a mix of ordinary shares and/or convertible loan note; the lat-
                ter will bear a coupon of 9% annually, payable quarterly.

                The ordinary shares are priced at US$0.75c (£0.48p}, and the loan note option
                at US$1 (£0.64p), and places a pre-sale valuation on the Company of US$7.5
                million (£4.8 million). The amount of ordinary shares issued in this placing will
                vary according to demand for the convertible loan note option, but the total
                raised and equity available to investors will not exceed US$1.5 million and
                20%.

                Conversion of the loan note will be available at the request of the investor at
                any time after the first anniversary of purchase at par. Directors may auto-
                matically redeem the loan note at any time, but at a value of not less than
                US$1.2Sc. At maturity, the loan note will automatically convert into ordinary
                shares unless the investor requests redemption, which will occur at a price of
                not less than US$1.25c.

                The issue is being administered by In Crowd Equity Inc., the equity crowd
                funding platform headquartered in New York. Bar Works lauched its first site
                in October 2015, with a second site acquired in Times Square which is due
                to open in January 2015. The first Bar Works on 39th ST is already profitable
                and is benefiting from the extensive marketing and the lack of supply in the
                Manhattan area.

                In Crowd Equity is also working in association with Bar Works, in that the for-
                mer will offer priority access to entrepreneurs who are members of Bar Works
                to help fund suitable business opportunities. In Crowd will also supply Bar
                Works' members with free copies of its tech quarterly- 'The Search' - which
                aims to highlight and explain the latest new technology trends and develop-
                ments in a jargon-free way.

                Bar Works received an investment of $500,000 at 75 cents a share from a US
                based Tech Startup fund located in Silicon Valley.

                Directors of Bar Works Inc. intend to facilitate a trade sale or IPO of the Com-
                pany within three years, with a target exit value for investors of not less than
                US$50 million (£32 million}, by which time the Directors anticipate the Com-
                pany to be operating not less than 15 individual sites in major international
                cities, and on leases of not less than 15 years.




                Please note:
                US$/£ conversion rate of US$1.56c to the pound is in use in this document.
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    LETIER FROM THE DIRECTORS

                 DEAR INVESTOR,
                 Founders of Bar Works Inc. believe they have identified a valuable niche in the flexible work
                 space market - one that promises to satisfy the very real and growing demand for easily
                 accessible short and long-term 'hot work space' in central city locations.

                 The emphasis is on 'work' and providing members with all the necessary tools to conduct
                 business and fulfill working needs in a vibrant environment - wi-fi, phones, fax, printing and
                 copying in quiet and separate units and in more social areas, plus offering private meeting
                 rooms and all event and catering facilities.

                 And Bar Works' sites are accessible to all, with membership restricted only by the spaces
                 available, although a few work units are reserved for 'ad hoc'/on the day rentals.

                 By utilizing former bar and restaurant premises, Bar Works are the first real 'walk in' work
                 space units in town, and are also highly competitive in terms of price and levels of service.
                 The first Bar Works opened on 39th ST in Midtown Manhattan in October 2015 with a second
                 due to open in January 2016 in New York's Times Square.

                 As entrepreneurs and owners/managers of a variety of customer-facing businesses (including
                 bars and restaurants) we know what so many work space units lack - that vibrant and
                 sustained 'buzz' that provokes ideas and creative thinking. And, with over 20 years' worth
                 of using serviced office and work units in major cities around the world, we also know how
                 monthly 'service bills' often come as an unwelcome surprise!

                 Bar Works has received an investment of $500,000 at 75 cents a share from a US based Tech
                 Startup fund located in Silicon Valley.

                 The potential to develop other bar/restaurant sites is significant, and makes us confident that
                 we can have at least 15 separate Bar Works Inc. properties within three years and create a
                 significant brand with outlets in several major cities in the US and Europe in short order.

                 We hope you choose to join us - if only for a drink when our first venue opens its doors!!

                 Yours   •     f""'.

                      ~f(
                    C)·      l-:--
                 Jonathan Black
                 Chief Executive, Bar Works Inc.
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KEY PARTIES


                  Com pa ny Name:                        Bar Works, Inc
                                                         47W 39th Street
                                                         New Yor k
                                                         10018
                                                         USA
                  Website of t he Com pany:              www.bar wor ks .nyc



                  Sponsor/Administrator to th e Issue:   In Crowd Equity Inc.
                                                         13E 37th Street
                                                         New York
                                                         10016
                                                         USA

                  Attorney to In Crowd Equity:           Thompson Bukher LLP
                                                         369 Lexington Avenue
                                                         New York
                                                         10017
                                                         USA

                  Ba nkers:                              JP Morga n Chase
                                                         Col umbus Ci rcle
                                                         New York City
                                                         New York
                                                         USA

                  Auditor to the Co m pany:              ProTax Cent er
                                                         1312 Kings Highway
                                                         New York
                                                         11229
                                                         USA




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    INTRODUCTION AND
    OUTLINE OF THE SERVICE
    Founders of Bar Works Inc. believe         Services available for each monthly
    they have identified two key flaws         membership payment will include
    in the current inner city work space       th e following:
    model - accessibility and price.
                                               •   Free internet
    None of the current work space op-         •   Free photocopying
    erators offer an easy access facility,     •   Free meeting room use (subject
    their premises usually requ iring pre-         to pre-booking and availability)
    booking. In major city centers, and        •   Free networking
    particularly in New York, facilities are   •   No notice period
    almost always booked up for at least           No deposit
    a month or more in advance.                •   Free coffee
                                                   Heavily discounted alcoholic
    Costs of using space with all opera-           drinks (beer and wine licenses)
    tors are also not limited to a monthly     •   Free subscription to The Search
    rent. Phone, intern et and other ser-          Free technical support
    vices are general ly extra costs, and          Free fax
    can raise the monthly bill by as much
    as 50% or more.                            Bar Works offers a Limited Mem-
                                               bership or Fu ll Membership and
    In addition, competing work space          Virtual Office option s. For example,
    locations do not have full catering        at the West 39th Street facility there
    and alcoho l licenses, so that their       is capacity for approximately 200
    users are forced to eat and entertain      members, with SO perma nent work
    elsewhere. The Bar Works model             spaces (usually for full members),
    means t hat members can use the            150 flexible spaces (for part-time
    premises for all their business-re lat-    and temporary members) and 50
    ed needs, and network much more            additiona l spaces for virtual office/ad
    effectively in comfort and in contact      hoc/per day usage .
    with their data and resources.
                                               The Bar Works in Times Square oc-
    Bar Works expects their work spaces        cupies three floors tota lling around
    to have a unique vibrancy, based on        4,500 sq feet with a ca pacity for 300
    people rather tha n simply on archi-       members.
    tecture or decor. As the founders
    express it on the Bar Works website::

    "An energizing environment 1s
    rare to find in a co-worl<inr, •,p,1cc.
    A trendy building or beautiful
    architecture doesn't make th e
    atmosphere. The people do. The
      est ,•,ay to -nCOl r 1, h,      , '{
    is through our bar environm ent.
    You will get a real opportunity
    to network with your fellow
    entrepreneurs. Many of the
    good ideas are generated in such
    surroundings and this atmosphere is
    present 24/7."
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BACKGROUND -
CHANGING WORK PATTERNS              '



Last year the US Bureau of Labor        In addition, the latest issue of the     HBR cites severa l examples of how
Statistics said that by 2020 some "65   Harvard Business Review (HBR)            employees of large corporates are
million Americans will be freelanc-     reports that large corporates are also   using the co-working model, includ -
ers, temps, independent contractors     now encouraging their employees          ing using actual remote work spaces.
and solopreneurs, making up about       to use remote co-working spaces          (https://hbr.org/2015/05/why-
40% of the workforce". Similar trends   because of the benefits all compa-       people-th rive-in-coworking-spaces).
can be seen in other developed and      nies and workers ca n derive from the    And the journal conclud es that co-
developing economies, and this sug-     model.                                   working spaces enhance success for
gests that demand for work spaces                                                three main reasons: people who use
will continue to rise in the coming     HBR says, "There seems to be             co-working spa ces see their work as
years around the world.                 something special about co-working       meaningful; they have more job con-
                                        spaces. As researchers who have,         trol; they feel part of a commu nity.
                                        for years, st udied how employees
                                        thrive, we were surprised t o            Thus, the work space model is now
                                        discover that people w ho belong         also serving a growing number of
                                        to them report levels of thriving        major corporates as they rea lize the
                                        that app roach an average of 6 on        benefits it brings in terms of wo rker
                                        ,, 7-point scale. This is at least       wellbeing and productivity. And
                                        point higher than the average for        whilst many big corporations may
                                        cmployC'es who do tlw1r 1:,bs 1•         decide to refit th eir own offices to
                                            11                                   copy the model, t hey also see m to
                                        unhea rd of that we had to look at       be active in co-work ing memberships
                                        the data again.                          for t heir staff.

                                        It chedrnd out. So Wt! were cur ou<.     The wor k-life balance appea rs to be
                                        What tnilkes co-working span·s           shifting for employees as wel l as th e
                                        - defined as members hip-based           self-employed.
                                        workspaces where diverse groups
                                        of freelancers, remote workers, and
                                        other independent professionals
                                        work together in a shared,
                                        communal setting - so effective?
                                        And are t here lessons for more
                                        traditional offices?"
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     MARKET FOR TEMPORARY WORK SPACE -
     THE 'HOT WORK SPACE'
     Whilst the changes in how and           tive outl ool<, with more than one in     their first co-worki ng spaces. There
     where people work are behind the        two co-worl<ing spaces planning to        was one e)(ception, however, which
     huge success of companies such as       expand in this year alone. Success        significantly increased the frequen-
     Regus and WeWo rk, it looks likely      stories with this kind of market          cy of co-working traffic from one
     that t here w ill be many more such     value are few and far between.            space to another. Whereas in the
     success stories from every conti-       Compared to co-working, many              past, co-workers normally remained
     nent in t he years ahead. (Market       other industries see less growth on       loyal to their fi rst ever co-working
     leader WeWork ra ked in revenues of     average.                                  space (even to those with poor
     US$150 million (£96 million) in 2014,                                             ratings), future estimates show that
     and is taking its US model to Europe    In India, for example, the India Times    the probability that people will stay
     and the Middle East.)                   reported this summer that, "With          put in unsatisfactory work spaces
                                             the blossom ing of India's startup        will be much lower."
     Globa lly, the co-working business      ecosystem, entrepreneurs are not
     is in a major uptrend. According        the on ly ones making big busin ess -     Thus, an element of competition is
     to industry tracker Deskmag.com,        so are the people running the spaces      entering the work space provision
     flexible working spaces around the      they work out of. Co-working spaces,      market, and end use rs are becoming
     world grew five times during 2010-      which are growing in demand by the        more se lective about the faci lities
     13. That's ju st three years.           day, are proving to be a profitable       and support th ey wa nt - and they
                                             and even sca lable ve nture."             may well be becom in g more cost-
     In its most recen t published report                                              co nscious at the same time.
     (2014), Deskmag.com also sa id th at:   Deskmag.com has also highlighted
                                             another trend within the industry,        For work space operators this may
      Seven out of ten co-work,, g fact 1    and reported that " more co-work ing      mean a more varied and differentiat-
     tators report that the availability     members are switching workspaces"-        ed offering is needed, even though a
       r desk space in co· worKin1, sp,!Lc                                             key factor for ope rators is tha t t hey
     can' t keep up with the public's de-    "When we I.1st took our \Ur ey, 80        keep property and renovation costs
     mand in general. The current need       of co-working prof. ss1onais were         under contro l. This is more easily
     for co-working spaces outweighs         sti ll at their fast co wot·king spac,!   done in cou ntri es w here property
     the availability of vacant spots.       th is time around, that number            can be leased on long-term co n-
     Taken as a whole, the co-working        dropped to just under 70%. More           tracts and there is good competition
     economy has parall eled this posi-      people were ;ilso likely to return to     in the refit and renovation market.




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BUSINESS MODEL: BAR WORKS INC.

To provide both a differentiated          Features of the Bar Works model         the total number of Bar Works'
offering in the work space market,        include:                                properties to not less than 15 in the
and to keep set-up costs down, Bar                                                next three years. The Directors and
Works Inc. has focused on acquiring       1) No deposit and members               their real estate advisers believe
long-term leases to premises which        can leave at any time after the         the potential for growth in the Bar
already have full restaurant and bar      completed month paid for in             Works' portfolio to be substantially
licenses as well as under-utilized        advance, so no notice period either.    higher.
space.
                                          2) Networking. 'Happy Hour' is the      Once the Company achieves a
In addition, in what is anticipated to    best time to meet other co-workers,     critical mass in key cities, there is the
become an increasingly competitive        and Bar Works' venues have a            potential for Bar Works' members
market, Bar Works Inc. offers its         'Happy Hour' Monday to Friday from      to opt for a 'Global Membership'
customers an all-inclusive, no            6pm-8pm.                                package that could give them
deposit fee structure. This aspect                                                guaranteed work space wherever
of the Company's model is inspired        3) Events. Bar Works hosts a busy       they happen to be doing business.
by the long-term experience of its        schedule of events with guest           This would be a premium service for
founders, who between them have           speakers each month.                    a limited number of members, and
more than 20 years' experience of                                                 has yet to be fully formulated by the
using flexible work space in leading      On the costs side, Bar Works Inc.       Directors of the Company and is one
cities around the world.                  focuses on sites where long leases      of several ideas for enhancing future
                                          are available - a minimum of 10         revenues.
"Too many work space providers hit        years - and with pre-set rent review
users with extra charges each month       clauses, so that the Company knows
- for phones, internet charges etc. -     exactly what its biggest single outgo
and that can be both annoying and         will be in the years ahead. Design
damaging to entrepreneurial people.       and refurbishment are also done on
If you are starting a new venture, or     fixed price contracts to avoid large
working on a fixed price contract, the    budget overspends.
last thing you need is a big surprise
at the end of the month. And some         Staff costs are expected to be lower
of the surprises can be really big,       (as a percentage of costs) compared
pushing total space costs up by more      to other work space providers due to
than 50% in our experience.               the staff having multiple functions

It is time for the work space industry    The Company's plans for expansion
to be more transparent in what it         include at least six further sites
offers and what it charges, and we        in New York City, to ensure a
believe the fixed cost, no deposit        recognizable brand within the city,
model is one that we can make             as well as a spread of convenient
work, and which will have real            locations for members. Directors of
appeal amongst freelancers, contract      Bar Works are already researching
workers and others wanting work           available and suitable sites in San
space in city centers", says Bar Works    Francisco, Boston, Chicago and
lnc.'s Chief Executive, Jonathan Black.   London, with the aim of taking
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     FINANCIAL PROJECTIONS FOR THE COMPANY

     The following figures are based on the two sites. The figures reflect minimal catering and bar profits, as
     these services initially will be run at relatively low margins. Over the long-term, a proportion of bar profits
     are expected to be used to incentivize customer facing staff within each property.

     All other operating costs are estimated at current price levels within the District of Manhattan.



                                                      Midtown         Downtown          Charges per month

     Members                                            200               400
     Full                                                 60              100           $550 =$33,000/$55,000
     Flexible                                           100               200           $400 =$40,000/$80,000
     Limited                                              20                75          $250 =$5,000/$18, 750
     Virtual                                              20                25          $50 = $1,000/$1,250


     Monthly Membership Revenue per site:           $79,000         $155,000
     Liquor Net Revenue                             $15,000           $30,000


     Total Revenue                                  $94,000          $185,000


     Staff                                             5,000            8.000
     Rent                                            10,000            25,000

     Tax                                               2,500             7,000

     Miscellaneous                                    . !~500            3,000

     Phones                                             500              1,000

     Light and heat                                    1,000             3,000

     IT                                                1,000             3,000


     Total Overhead                                 $21,500           $50,000
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Cost of Sales are put at $90,000 per year at Midtown and $180,000 at the Times Square property, and the
following table gives t he estimated net profit to the Company:




                                Property 1                            Property 2
                      Per Month              Per Year           Per Month             Per Year

Sales                    $94,000         $1,128,000               $185,000         $2,220,000

Cost of Sales             $7,500             $90,000               $15,000           $180,000

Overheads                $21,500           $258,000                $50,000           $600,000



Net Profit               $65,000           $780,000               $120,000         $1,440,000



These give a cumulative net profit to the Company of US$2.22 million in the first full year of operation just
from the two sites. The figures suggest an average net profit per member to the Company of US$3, 700
a year. Taking that average, each additional site capable of providing work space for 300 members
would add another US$1.11 m illion to net corporate profits, before corporation tax and head office and
corporate staff costs.




Earnings Multiple

The compa ny is being valued at 4 times 2016 pre-t ax profits or 5.8 post tax profit based on a post money
valuation of $9m. Consideri ng the growth potential of this company t his is a significant discount to similar
operators in this market place. The company doesn't expect to raise additional funds from its investors t o
fund its initial expansion plans as the cash flow and the cu rrent round of fund ing shou ld be sufficient to
grow the business to 15 sites.
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     SUMMARY

     Bar Works Inc. aims to create a more        4) Gross proceeds from the fundrais-
     vibrant, accessible and usable work         ing wi ll be US$1.5 million, and will
     space environment for a variety of          be used to fund refurbishment and
     user needs - the freelancer, contract       fitting out costs at the two Ma nhat-
     worker, entrepreneu r and travelling        tan venues already under lease, and
     executive. At the same time, the            to fund the acquisition of furt her
     Company will exploit niche ven ues          sites in New York City and business
     with full bar and catering licenses in      districts of other leading US and
     selected and 'hot' districts of cities in   overseas cities.
     the US and elsewhere.
                                                 5) The issue price puts a va Iuation of
     The Bar Works model offe rs custom-         US$7.5 million on the Company.
     ers a clear and inclusive fee struc-
     ture - with no hidden extras. The           6) First full year net profits to the
     Directors believe this to be another        Company estimated at US$2.22 mil-
     key differentiator of their business        lion, before corporation tax and head
     model, since establ ished work space        office costs which is 5.8 times 2016
     providers place additional monthly          post tax ea rnings.
     charges on their customers even for
     the very basic services of telephones       7) The directors are forgoing any
     and internet access .                       salary and are incentivized by the
                                                                                           •""-
                                                 potential growth in th eir stock value
     Bar Works has received a commit-            which should ensure overheads are
     ment to invest $500,000 at 75 cents         kept to a bare minimum.
     a share from a US based Tech Startup
     fund located in Silicon Valley.             8) One site already operationa l in
                                                 Midtown Manhattan with a further
     In this Private Placing Memorandum          site opening in Manhattan's Times
     investors have the opportun ity to          Square in Jan uary 2016.
     invest on the following terms:
                                                 9) Participation in one of the fastest
     1) To subscribe for up to two million       growing commercial property sub-
     shares in the Company at a price of         sectors in the US and overseas.
     US$0. 75c per share by way of either
     ordinary shares or convertible loan         10) Directors target a trade sale or
     note, or a mix of both.                     IPO within three years.

     2) Convertible loan note offer in -         11) Revenue projection for the group
     cludes a 9% coupon and 25% uplift in        expected to average US$3: 700 per
     value at redemption.                        member per year across all locations
                                                 before inflation.
     3) Minimum investment of US$5,000
     (£3,200).                                   12) A flexible offer for investors,
                                                 whether seeking income or capital
                                                 growth.
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16   LEGAL NOTICES




     COMPANY INFORMATION
     DIRECTORS OF BAR         JONATHAN BLACK - CHIEF EXECUTIVE
     WORKS INC. ARE:          Jonathan has a background in finance and startup ventures. He was a finance
                              director/financial controller of two chains of bars in the UK (Regent Inns Pie -
                              market value $400m}. He has also set up a number of startup ventures includ-
                              ing recently Car Share which is a car sharing APP.

                              Jonathan saw the potential of shared work space and has fine tuned the
                              model to overcome the deficiencies in the current offerings which he encoun-
                              tered when renting serviced office space. His focus is on building a marketable
                              brand and ensuring above all that the first two sites are successful before
                              rolling out the brand.




                              ZOE MILLER - OPERATIONS EXECUTIVE
                              Zoe has a background in retail and is an accomplished entrepreneur in the
                              retail and web design space having launched a number of successful web
                              based companies.

                              Zoe is responsible for the day to day operations of each unit ensuring
                              members receive top quality service and that membership of each unit is
                              optimized.




                              ROBERT MUNDEN - CHIEF FINANCE OFFICER
                               An experienced finance executive. He is a qualified accountant (ACA) and runs
                               his own practice. He will oversea the finance function of the business and
                               ensure that the company stays within the constraints of its available resources
                               and that the new units are built within budget.
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1. USE OF PROCEEDS                       2. APPLICATIONS                         2.9 The Instructions and other terms
                                                                                 set out in the Application Form
Bar Works Inc. is seeking to             2.1 Applications may be made for        constitute part of the Placing.
raiseUS$1.Sm. The principal Use          the Placing Shares and/or Units
of Funds (after expenses) will           only by means of the application
be to finance expansion of its           form appearing at the end of this
leasehold property portfolio and
refurbishment and refit works. A
                                         document (the "Application Form").      3. MONEY
proportion of the funds raised will      2.2 Investors wishing to apply          LAUNDERING
also be used for promotional and
marketing activities on behalf of the
                                         to purchase Shares and/or Units
                                         should complete and sign the
                                                                                 REGULATIONS
Company.                                 Application Form in accordance          3.1 For the verification of identity
                                         with the instructions thereon. They     requirements and to ensure
1.1 The Company invites                  should send or deliver it in the        compliance with the Money
applications for subscription for        enclosed envelope, together with        Laundering Regulations 2007, the
up to 2,000,000 Ordinary Shares          a remittance for the full amount        Company is entitled to require, at its
("Placing Shares") at a price of 75      payable to the company so as to         absolute discretion, verification of
cents per share (the "Placing").         arrive as soon as possible.             identity from any applicant for any
                                                                                 Shares or Units including, without
1.2 Alternatively, investors can apply   2.3 Applications will be treated        limitation, any applicant who either:
for units of a 5-year convertible loan   on a first come, first served basis,
stock priced at US$1 per unit (the       provided that the Company               (i) tenders payment by way of an
"Units") and which bear an annual        may elect instead to scale down         electronic payment drawn on an
coupon of 9% and which will be           applications pro-rata from the          account in the name of a person or
issued as an alternative to ordinary     amount applied for.                     persons other than the applicant or
stock so that the maximum issue of
2,000,000 underlying shares will not     2.4 Applications, once made, will be    (ii) appears to the Company to be
be exceeded in this placing. Income      irrevocable.                            acting on behalf of some other
payments on the Units will be made                                               person. Pending the provision
quarterly, and the Units can be          2.5 The Company reserves the right      of evidence satisfactory to the
redeemed at par at any time after        (but shall not be obliged):             Company as to the identity of the
the first anniversary of issue and                                               applicant and/or any person on
before the automatic redemption          2.5.1 to accept or refuse               whose behalf the applicant appears
or conversion to ordinary share          applications to subscribe for           to be acting, the Company may,
on the fifth anniversary of issue.       Placing Shares or Units at any time     in its absolute discretion, retain
Automatic redemption will take           during the period when the Placing      an Application Form lodged by an
place at a fixed price of US$1.25c       remains open and to present             applicant and/or the remittance
per Unit. Automatic redemption or        Investors' cheques for payment;         relating thereto.
conversion is at the discretion of the
Directors.                               2.5.2 to close the Placing at any        3.2 If an Investor delivers an
                                         time.                                   Application Form personally, he
1.3 This Private Purchase                                                        should ensure that he has with
Memorandum contains the formal           2.6 If an Application Form is sent by   him photographic evidence of his
terms and conditions of the Placing      post, Investors are recommended to      identity, for example a passport
of both the Placing Shares and           allow at least four working days for    or driving licence containing a
Units.                                   delivery.                               photograph along with a utility bill
                                                                                 for example, electricity, gas or water
                                         2.7 Monies will be returned to          not older than three months(mobile
                                         unsuccessful applicants at the          phone bills are not acceptable).
                                         applicant's risk without interest.
                                                                                 3.3 By lodging an Application Form,
                                         2.8 The Application Form is not a       an Investor undertakes to provide
                                         document of title and it may not be     such evidence of identity at that
                                         sold, assigned or transferred.          time or, at the absolute discretion of
                                                                                 the Company, at such specified time
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     thereafter as may be requested, to        in the case of joint Investors, the      6. TERMS AND
     ensure compliance with the Money          address of the first named person
     Laundering Regulations 2007.              stated in their Application Form.        CONDITIONS OF THE
                                                                                        OFFER
     3.4 The Company is entitled, in their
     absolute discretion, to determine                                                  6.1 The basis of the allotment of
     whether the verification of identity      5. DETAILS OF THE                        Placing Shares and Loan Stock Units
     requirements applies to any Investor
     and whether such requirements
                                               PLACING                                  will be determined by the Directors
                                                                                        of the Company in their absolute
     have been satisfied.                                                               discretion. The right is reserved to
                                               5.4 The dates and times referred to in   reject any application or to accept
     3.5 The Company shall not be              this Information Memorandum may          any application. If any application is
     responsible or liable to any              be altered in the absolute discretion    not accepted, the amount paid on
     person(s) for any loss or damage          of the Company.                          application will be returned without
     suffered as a result of the exercise of                                            interest, in each case by cheque sent
     their discretion hereunder.               5.5 Investors irrevocably agree:         through the post at the applicant's
                                                                                        risk.
                                               5.5.1 that all applications and
                                               acceptances of Application Forms         6.2 By completing and delivering an
     4.GENERAL                                 and contracts resulting from them        Application Form, the applicant and
                                               under the Placing shall be governed      (if the applicant signs the Application
     4.1 The rights and remedies of the        by and construed in accordance with      Form on behalf of somebody else
     Company under this Information            US laws.                                 or on behalf of a corporation), that
     Memorandum are in addition to                                                      person or corporation:
     any rights and remedies which              5.5.2 that, for the exclusive
     would otherwise be available to           benefit of the Company, any suit         (a) confirms that once funds are
     the Company under the law. The            or proceedings arising out of or in      tendered, the person or corporation
     exercise or partial exercise of any one   connection with the Placing shall be     irrevocably offers to take under
     right will not prevent full exercise or   submitted to the jurisdiction of the     the Placing the number of Placing
     exercise of its other rights.             Courts of the US; and                    Shares or Units specified in the
                                                                                        Application Form, on the terms of,
     4.2 The Company has taken                 5.5.3 that nothing shall limit the       and subject to, the conditions set out
     reasonable care to ensure that            right of the Company to bring any        in this Document, including these
     the information contained in              such suit or proceedings in any other    terms and conditions and subject to
     this Information Memorandum               manner permitted by law or in any        the Memorandum and Articles of
     is correct and accurate. Without          court of competent jurisdiction.         Association of the Company;
     prejudice to the generality of the
     foregoing, and to the fullest extent                                               (b) agrees that they will accept the
     permissible under the law, any                                                     number of Placing Shares or Units
     liability of the Company arising out                                               allotted to them in accordance with
     of or in connection with the sale of                                               paragraph(a) above or such lesser
     the Placing Shares and Units shall                                                 number of Placing Shares or Units in
     be limited to the subscription price                                               respect of which this application may
     actually paid for the Placing Shares                                               be accepted;
     and/or Units.
                                                                                        (c) warrants that, if they sign the
     4.3 Investors authorise the Company                                                Application Form on behalf of
     to arrange to send a share certificate                                             somebody else or on behalf of
     for the number of Placing Shares                                                   a corporation, he or she has the
     or Loan Stock Units for which                                                      authority to do so and such person
     their Application Form is accepted                                                 will also be bound accordingly and
     and/or a cheque for any money                                                      will be deemed also to have given
     returnable and other Information                                                   the confirmation, warranties and
     Memorandums and remittances by                                                     undertakings contained in these
     post to Investors at the address or,                                               terms and conditions of application;
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(d) confirm that they are not            their ap plication and are aware of the
relying on any information or            special risks involved in participating
representations other than those         in an investment of this nature and
contained in this Document;              they understand t hat the application
                                         is made upon the terms of th is
(e) warrants that the remittance         Document and the Application Form;
accompanying their Application
Form will be honoured on first           (g) warrants that the Placing Shares
presentation and agrees that if it       and or Units are acquired solely for
is not honoured the Company may          th eir own account and beneficial
(without prejudice to any other rights   interest for investment and not for
it may have) void the agreement          sale or with a view to distribution.
to allot the relevant Placing Shares
and may allot them to some other         (h) acknowledge th ey have received
person in which case they will not be    all th e information it has requested
entitled to any refund or payment in     from Ba r Works they consider
respect thereof;                         necessary or appropriate for decidi ng
                                         whether to acquire th e Pacing Shares
(f) declares that they have read,        or Units.
understood and agreed to the terms
and conditions contained in this         This information is derived from,
Document and the Application Form        and should be read in conjunction
including t he of this Document, t hat   with, t he full text of this document.
they have taken all the appropriate      In pa rticular, your attention is drawn
professiona l advice, which they         to the Disclaimer set out in the
consider necessary before submitting     document.
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      RISK FACTORS
     Investors should be aware ofthe           following risk factors should be          range of other market forces, all of
     risks associated with an investment        considered carefully in evaluating       which have an impact on demand,
     in the Company.                           whether to make an investment in          business costs and stock market
                                               the Company. The following factors        prices.
     The Company believes an                   do not purport to be an exhaustive
     investment in the Company via this        list or explanation of all the risk
     Private Placement Memorandum              factors involved in investing in the
     will provide the necessary capital        Company and they are not set out          THE COMPANY'S
     to ensure that the Company is
     sufficiently capitalised to deliver its
                                               in any order of priority. There may
                                               be additional risks of which the
                                                                                         OBJECTIVES MAY NOT
     longer term operational plans and         Directors are not aware.                  BE FULFILLED
     achieve its medium term financial
     projections.                                                                        The ability of the Board to
                                                                                         implement the Company's strategy
     The Company considers the                 MANAGEMENT AND                            could be adversely affected by
     following risks to be the most
     significant for potential investors.
                                               EMPLOYEES                                 changes in the economy and/or
                                                                                         sector in which it operates. Although
                                                                                         the Company has a clearly defined
     The risks listed below do not             The future performance of the             strategy and the Board is optimistic
     necessarily comprise all those            Company will depend on its ability        about its prospects, there can be
     associated with the Company.              to retain the services and personal       no guarantee that its objectives or
                                               connections or contacts of key            any of them will be achieved on a
     The attention of prospective              executives and to recruit, motivate       timely basis or at all. The Company's
     investors is drawn to the fact that       and retain suitably skilled, qualified    ability to attract new business is also
     ownership of shares in the Company        and industry experienced personnel.       dependent on the maintenance of
     will involve a variety of risks which,    Although certain key executives have      its reputation.
     if they occur, may have a materially      entered into service agreements
     adverse effect on the Company's           with the Company, the loss of the
     business or financial condition,          services of any such individual may
     results or future operations. In such     have an adverse material effect on        COMPETITION
     case, the value or market price of        the business, operations, revenues,
     the Ordinary Shares and Loan Stock        customer relationships and/or             Larger companies, in particular,
     Units could decline and an investor       prospects of the Company.                 may have access to greater financial
     might lose all or part of his/her                                                   resources and technical facilities
     investment. Shares in the Company                                                   than the Company, which may give
     are presently unquoted securities                                                   them a competitive advantage.
     and may be considered to have             GENERAL ECONOMIC                          In addition, the Company cannot
     more risk than quoted securities
     and shares. Investors may have
                                               CLIMATE                                   predict the pricing or promotional
                                                                                         activities of its competitors or
     difficulty selling this investment at                                               their effect on its ability to market
     a reasonable price and, in some           The general economic climate is           and sell its services. In order to
     circumstances, it may be difficult to     volatile and is affected by numerous      ensure that its services remain
     sell it at any price. Investors should    factors which are beyond the              competitive, the Company may
     be aware of the risks associated          Company's control and which may           be required to reduce its prices as
     with an investment in a business in       affect its operations, business and       a result of price reductions by its
     the early stages of development.          profitability. These factors include      competitors. This could adversely
     Investors should consider carefully       the supply and demand of capital,         affect the Company's results.
     whether an investment in the              growth in gross domestic product,         Potential competitors may establish
     Company is suitable for them, in          employment trends and industrial          co-operative relationships between
     the light of the matters referred         disruption, international economic        themselves or with third parties to
     to in this Placing Document, their        trends, currency exchange rate            enhance their services. Accordingly,
     personal circumstances and the            fluctuations, the level of interest       it is possible that new competitors
     financial resources available to          rates and the rate of inflation, global   or alliances among competitors
     them. In addition to the information      or regional political events and          and other sources of loan capital
     set out in this document, the             international events, as well as a        may emerge and rapidly acquire
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significant market share. There is no    LITIGATION                               assumptions and information only
assurance that the Company will be                                                as of the date of this Document,
able to compete successfully in such      While the Company currently has         and the forward-looking events
a marketplace.                           no outstanding litigation, there can     discussed in this document might
                                         be no guarantee that the current or      not occur. Therefore, investors
                                         future actions of the Company will       should not place any reliance on any
                                         not result in litigation. Defence and    forward-looking statements. Except
FUTURE PAYMENT OF                        settlement costs can be substantial,     as required by law or regulation, the
DIVIDENDS                                even with respect to claims that
                                         have no merit. Due to the inherent
                                                                                  Directors undertake no obligation to
                                                                                  publicly update any forward-looking
                                         uncertainty of the litigation process,   statements, whether as a result of
There can be no assurance as to          there can be no assurance that the       new information, future earnings or
the level of future dividends or         resolution of any particular legal       otherwise.
interest payments on Loan Stock          proceeding will not have a material
Units. The declaration, payment          adverse effect on the Company's
and amount of any future dividends       financial position or results of
of the Company are subject to            operations.                              RAISING WORKING
the discretion of the directors
and shareholders of the Company
                                                                                  CAPITAL TO FUND
and will depend upon, inter alia,                                                 DEVELOPMENT AND
the Company's earnings, financial        FORWARD-LOOKING                          CONSEQUENCES OF
position, cash requirements and
availability of profits as well as the
                                         STATEMENTS                               DOING SO
provisions of relevant laws and/
or generally accepted accounting         This document contains forward           It is possible that the Company
principles from time to time. The        looking statements that involve risks    will need to raise further funds in
Company has no plans to pay a            and uncertainties. All statements,       the future. There is no guarantee
dividend in the immediate future.        other than statements of historical      that the then prevailing market
                                         facts, contained in this document,       conditions will allow for such a
                                         including statements regarding the       fundraising or that new investors
                                         Company's future financial position,     will be prepared to subscribe
INTERNAL CONTROLS                        business strategy and plans,             for Ordinary Shares at the same
                                         business model and approach and          price as the Placing Price, or at a
Future growth and prospects for          objectives of management for future      different price. Shareholders may
the Company will depend on its           operations, are forward-looking          be materially diluted by any further
ability to manage the current            statements. Generally, the forward-      issue of Ordinary Shares by the
business and to continue to expand       looking statements in this document      Company.
and improve operational, financial       use words like "anticipate",
and management information               "believe", "could", "estimate",          If any of the risks referred to herein
and quality control systems on a         "expect", "future", "intend", "may",     crystallise, the Company's business,
timely basis, whilst at the same         "opportunity", "plan", "potential",      financial condition, results or future
time maintaining effective cost          "project", "seek", "will" and similar    operations could be materially
controls. Any failure to expand          terms. The Company's actual              adversely affected. In such case,
and improve operational, financial       results could differ materially from     the value or price of its shares
and management information               those anticipated in the forward-        could decline and investors may
and quality control systems in line      looking statements as a result of        lose all or part of their investment.
with the Company's growth could          many factors, including the risks        The investment detailed in this
have a material adverse effect on        faced by the Company which are           document may not be suitable for
the Company's business, financial        described in this Placing Document.      all of its recipients and involves a
condition and results of operations.     Investors are urged to read this         high degree of risk. Before making
                                         entire Document carefully before         an investment decision, prospective
                                         making an investment decision.           investors are advised to consult
                                         The forward-looking statements           a professional adviser authorised
                                         in this document are based on            under the Financial Services and
                                         the relevant Directors' beliefs and      Markets Act 2000 who specialises
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     in advising on investments of the       All Placement Shares or Loan Stock      IMPORTANT
     kind described in this document.
     Prospective investors should
                                             Units will bear the following legend:
                                             THIS SECURITY HAS NOT BEEN
                                                                                     INFORMATION
     consider carefully whether an           REG ISTERED UNDER THE SECURITIES
     investment in the Company is            ACT OF 1933, AS AMENDED. NO             There is at present no listing or
     suitable for them in the light of       SALE OR DISPOSITION MAY BE              admission to deal on any recognised
     their personal circumstances and        AFFECTED EXCEPT IN COMPLIANCE           investmen t exchange for any shares
     the financial resources ava ilable to   WITH RULE 144 UNDER SAID ACT            in the Company and no application
     t hem .                                 OR AN AFFECTIVE REGISTRATION            h as been made or is currently in
                                             STATEMENT RELATED THERETO               contemplation for any such listing or
                                             OR AN OPINION OF COUNSEL FOR            admission. There is, accordingly, no
                                             THE HOLDER SATISFACTIORILY              active market for the Placing Shares
     MARKET FOR                              TO THE COMPANY THAT SUCH                or Loan Stock Units.
                                             REGISTRATIONIS NOT REQUIRED
     SHARES/UNITS                            UNDER THE ACT OR RECEIPT                Unquoted shares may be difficult
                                             OF A NO-ACTION LETTER FROM              to se ll/rea li se and there ca n be no
     There is at present no listing or       THE SECURITIES AND EXCHANGE             certa inty that market makers will be
     admission to deal on any recognised     COMM ISSION.                            prepared to deal in them.
     investment exchange for any shares
     in the Company and no application
     has been m ade or is currently in
     contemplation for any such listing or
     admission . There is, accordingly, no
     active market for the Placing Shares
     or Loan Stock Units.

     Unquoted shares may be difficult
     to se ll/realise and there can be no
     certai nty that market makers will be
     prepared to deal in them.
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IMPORTANT INFORMATION
DISCLAIMER                                the Company's business, financial
                                          conditions, results or future opera-
No information contained herein or        tions could be materially adversely
subsequently communicated to any          affected. In such cases, the market
person in connection with Bar Works       price or value of the Company could
Inc. or any investment herein may         decline and an investor may lose part
be taken as constituting the giving       or all of his investment. The Directors
of any form of recommendation,            believe they have recognised the op-
legal or other advice or the giving       portunity for the profitable growth of
of investment advice and no such          the Company. They consider the risks
person should expect Bar Works Inc.       set out in this Placing Document to
and/or the Directors of Bar Works         be the most significant for poten-
Inc. to owe to him/her any duties or      tial investors. Additional risks and
responsibilities. Any recipient should    uncertainties not presently known to
take their own legal, taxation, finan-    the Directors, or which the Direc-
cial or other appropriate advice from     tors currently deem immaterial may
suitably qualified advisers.              also have an adverse effect upon the
                                          Company
No person is authorised in connec-
tion with any offer made hereby to
give any information or to make any
representation other than as con-         CONFIDENTIALITY
tained in this Placing Document and,
if given or made, such information        The information contained in this
or representation must not be relied      document is confidential. By accept-
upon as having been authorised by         ing this document, the recipient
the Company.                              agrees not to use or disclose the
                                          information contained in this docu-
                                          ment or any other information made
                                          available by the Company for any
RISK FACTORS                              purpose.

Investors should be aware of the high
risks associated with an investment
in the Company. The specific factors
set out in this Placing Document, in
addition to all other information in
the Placing Document, should be
considered carefully in evaluating
whether to make an investment in
the Company.

The Directors of the Company believe
the risks set out in this Placing Docu-
ment to be the most significant for
potential investors. However, the
risks listed do not necessarily com-
prise all those associated with an in-
vestment in the Company. In particu-
lar, the Company's performance may
be affected by changes in market or
economic conditions and in legal,
regulatory and tax requirements. If
any of the risks set out in this Plac-
ing Document were to materialise,
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